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2                        UNITED STATES DISTRICT COURT

3                      NORTHERN DISTRICT OF CALIFORNIA

4                   BEFORE THE HONORABLE WILLIAM H. ALSUP

5
      UNITED STATES OF AMERICA,          )
6                                        )
                     Plaintiff,          )
7                                        )
                  vs.                    )No. CV-11-00162 WHA
8                                        )
      SAMSUNG SDI CO. LTD.,              )
9                                        )SAN FRANCISCO, CA
                     Defendants.         )TUESDAY, MAY 17, 2011
10                                       )3:20 p.m.
      ___________________________________)
11
                             TRANSCRIPT OF PROCEEDINGS
12    APPEARANCES:

13    For the Plaintiff:
                                  UNITED STATES DEPARTMENT OF JUSTICE
14                                ANTITRUST DIVISION
                                  SAN FRANCISCO FIELD OFFICE
15                                450 Golden Gate Avenue - Rm. 10-0101
                                  San Francisco, CA 94102
16                                BY: MAY LEE HEYE, ESQ.

17    For Defendants:
                                  SHEPPARD, MULLIN, RICHTER & HAMPTON, LLP
18                                Four Embarcadero Center- 4th Floor
                                  San Francisco, CA 94111
19                                (415)434-9100
                                  BY: GARY L. HALLING, ESQ.
20                                and JAMES L. McGINNIS, ESQ.

21

22
      REPORTED BY:     MARGARET "MARGO" GURULE, CCR
23                     Pro Tem Court Reporter - USDC

24

25
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1              May 17, 2011                                  3:20 p.m.

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3                              P R O C E E D I N G S

4           THE COURT:     Welcome.    Please be seated.

5           Just to report the good news that Ed Chen has just been

6     sworn in as the new U.S. District Judge.           I was down -- I had

7     the honor to attend that little ceremony.

8           So we're now ready to go.        Let's call the next case.

9           THE CLERK:     Calling Criminal 11-00162, United States vs.

10    Samsung SDI Corporation.

11          MR. HALLING:     Good afternoon, Your Honor.         Gary Halling

12    and Jim McGinnis for Samsung SDI.

13          Also here is our official corporate representative,

14    Mr. Sang Soo Noh.      And with him is Mr. Stephen Bong-Han Kim of

15    the Samsung SDI Legal Department.

16          THE COURT:     Okay.   Welcome to all of you.

17          MS. HEYE:    May Lee Heye for the United States.

18          THE COURT:     All right.    Welcome to you.

19          MS. HEYE:    Thank you.

20          THE COURT:     So what is our plan for the case?

21          MR. HALLING:     Well, Your Honor, we have submitted an

22    amended plea agreement, and we are prepared to enter a plea

23    today.

24          THE COURT:     All right.    So we will take the plea, send it

25    out for the presentence report, come back for a sentencing
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1     hearing in about 90 days.

2           That's what you want to do?

3           MR. HALLING:     That's correct, Your Honor.

4           THE COURT:     All right.    Good.    So are there any -- let's

5     just go over what the proposed deal is.           So Ms. May Lee Heye,

6     right?

7           MS. HEYE:    Yes, Your Honor.

8           THE COURT:     All right.    Tell me what the deal is here so I

9     can have that in mind as we go through this.

10          MS. HEYE:    Sure, Your Honor.

11          Samsung SDI's plea agreement is being entered pursuant to

12    Rule 11(c)(1)(C).

13          Samsung SDI agrees to plead guilty to a one count

14    information charging a violation of 15 U.S.C. Section 1 for

15    fixing prices, reducing output, and allocating market shares.

16    It will pay a criminal fine of $32 million.

17          Would you like me to go through the cooperation

18    provisions?

19          THE COURT:     Well, there were some things about who you

20    would not prosecute and so forth.          So tell me what that is.

21          MS. HEYE:    Certainly, Your Honor.        On page 8 in paragraph

22    12b. there are certain individuals that have been identified in

23    the plea agreement.      There are four individuals.         Those

24    individuals are carved out of the plea agreement.

25          However, the United States has agreed that it will not
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1     file further criminal charges against Samsung SDI or its

2     related entities or current or former employees, excluding the

3     individuals I just referred to for their participation in any

4     conspiracy involving CDTs or CPTs prior to the date of the plea

5     agreement.

6           We have also agreed not to seek restitution pending the

7     civil cases related to this matter, and we have also agreed to

8     recommend that Samsung SDI be given no term of probation.

9           THE COURT:     That they be given what?        That they be given a

10    term of probation?

11          MS. HEYE:    That they be given no term of probation, Your

12    Honor.

13          THE COURT:     Well, I mean, we can't put a corporation in

14    jail, so what else is there other than paying a fine?

15          MS. HEYE:    They pay the fine and the special assessment,

16    Your Honor.

17          THE COURT:     All right.    And these individuals that you

18    have carved out --

19          MS. HEYE:    Yes, Your Honor.

20          THE COURT:     -- what will become of them?        What is their

21    status going to be?

22          MS. HEYE:    Their status has not yet been determined, but

23    the government is continuing its investigation.             We will handle

24    them individually.      They will not be covered by the protections

25    of the plea agreement.
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1           THE COURT:     The maximum fine is how much under the

2     statutes?

3           MS. HEYE:    I'm sorry?

4           THE COURT:     The maximum fine is $100 million, right?

5           MS. HEYE:    Yes, Your Honor.

6           THE COURT:     So $32 million versus $100 million.          Okay.       So

7     if the Court were to decide that $32.5 million is the right

8     fine, then would the defendant have the right to withdraw from

9     the plea agreement?

10          MS. HEYE:    Yes, they would, Your Honor.         This is a (C)

11    deal.

12          THE COURT:     So I don't know the answer to that.          I haven't

13    got a clue what the right answer here is.

14          Tell me the part about restitution.

15          MS. HEYE:    Your Honor, we -- the United States has agreed

16    not to seek restitution.        As you know, there are pending civil

17    cases before Judge Conti, and we have agreed that that is part

18    of the recommended sentence.

19          So as Your Honor has indicated, you would like to accept

20    the guilty plea, get a presentence report, educate yourself on

21    the issues.     And at that point, you, I think, indicated that

22    you would give the parties an opportunity to address any other

23    concerns that you had.

24          If you felt that no restitution was appropriate, then

25    obviously we would proceed.        If you did not accept that, then
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1     we would not have a deal.

2           THE COURT:     All right.    Well, does this agreement call for

3     anybody to give speeches?

4           MS. HEYE:    It does not, Your Honor.

5           THE COURT:     Why wouldn't that be a good idea?

6           MS. HEYE:    Since it's a deal with a corporation, it's just

7     not something we had discussed.

8           THE COURT:     The corporation could call some of its

9     top-ranking people to go speak to groups and say, "Here's how I

10    almost went to prison."

11          MS. HEYE:    I guess that is certainly something that we

12    could do.    It is not something we negotiated in this instance.

13          THE COURT:     All right.    Well, maybe that's -- I don't know

14    whether that's a good idea or not.          But okay.    The order of

15    business today is -- and we will save all those other issues of

16    what is the right answer for a future day --

17          MS. HEYE:    Yes, Your Honor.

18          THE COURT:     -- and we'll just do the plea here today.          So

19    who is going to actually speak for the corporation?

20          MR. HALLING:     Mr. Sang Soo Noh is the person who has been

21    authorized to speak.       He's present.     He was authorized by the

22    Board.

23          And attached to the plea agreement is the formal

24    authorization from the Samsung SDI Board of Directors

25    authorizing Mr. Noh to sign the plea agreement and to enter a
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1     plea.

2           THE COURT:     Okay.    All right.    So I'll ask him about that.

3     So he's knowledgeable about all of that?

4           MR. HALLING:     He is knowledgeable to some extent, that's

5     correct, Your Honor.

6           THE COURT:     All right.    Well, we will see.       So let's ask

7     him -- has the interpreter been sworn in this matter?

8           THE INTERPRETER:       Yes, Your Honor.

9           THE COURT:     You have already last time?

10          THE INTERPRETER:       Yes, Your Honor.

11          THE COURT:     Okay.    So let's ask Mr. Noh to please stand in

12    the middle and raise your right hand and take an oath to tell

13    the truth.

14                      (Defendant Representative placed under oath.)

15          MR. NOH:    Yes.

16          THE CLERK:     Please state your full name for the record.

17          MR. NOH:    Sang Soo Noh.

18          THE COURT:     All right.    Welcome to the Court.

19          How are you today?

20          MR. NOH:    I'm fine, Your Honor.

21          THE COURT:     Good.

22          All right.     How old are you?

23          MR. NOH:    I'm 48 years old.

24          THE COURT:     How far did you go in school?

25          MR. NOH:    I graduated from the university.
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1           THE COURT:     Okay.   And in what country was that?

2           MR. NOH:    In Korea.

3           THE COURT:     Okay.   And what kind of degree do you have?

4           MR. NOH:    B.A.

5           THE COURT:     Okay.   And how do you make your living?

6           MR. NOH:    I'm a vice-president of the financial

7     department.

8           THE COURT:     Of what?

9           MR. NOH:    Financial division.

10          THE COURT:     Of Samsung SDI Company?

11          MR. NOH:    Yes, Your Honor.

12          THE COURT:     Okay.   And are you thinking clearly today?

13          MR. NOH:    Yes, Your Honor.

14          THE COURT:     Are under the influence of any medicine,

15    alcohol or narcotic?

16          MR. NOH:    No, Your Honor.

17          THE COURT:     Are you mentally ill or being treated for any

18    mental illness?

19          MR. NOH:    No, I am not.

20          THE COURT:     Okay.   And are you an officer of Samsung SDI

21    Company, Limited?

22          MR. NOH:    Yes, I am.

23          THE COURT:     And again, tell us what officer you are.

24          MR. NOH:    Vice-president of finance.

25          THE COURT:     Okay.   And is the Board of Directors of
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1     Samsung SDI Company, Limited, authorized to authorize you to

2     enter into a plea of guilty to the charge brought against

3     Samsung SDI Company in this case?

4           MR. NOH:     Yes.

5           THE COURT:     And has the board of directors, in fact,

6     authorized you to enter such a plea?

7           MR. NOH:     Yes.

8           THE COURT:     And have you -- do you, yourself, understand

9     what the charges are in this case against Samsung SDI Company,

10    Limited?

11          MR. NOH:     Yes, I'm aware of that.

12          THE COURT:     All right.     And has -- have you and others in

13    the company discussed with counsel, meaning the attorneys, all

14    of the ways to defend against this case?

15          MR. NOH:     Yes.

16          THE COURT:     And are the officers and directors of Samsung

17    SDI Company, Limited, fully satisfied with the advice of

18    counsel that they have received in this case?

19          MR. NOH:     Yes.

20          THE COURT:     Is Samsung SDI Company, Limited, financially

21    able to pay the fine that is agreed upon in your amended plea

22    agreement?

23          MR. NOH:     Yes.

24          THE COURT:     All right.     I understand that your willingness

25    to plead guilty, meaning Samsung, SDI Company, Limited's,
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1     willingness to plead guilty is a result of discussions between

2     your lawyers and the government lawyers that led up to this

3     amended plea agreement.       Is that true?

4           MR. NOH:    Yes.

5           THE COURT:     All right.    And did you -- did they read this

6     agreement to you in Korean?

7           MR. NOH:    Yes.

8           THE COURT:     Did you understand it?

9           MR. NOH:    Yes, I did.

10          THE COURT:     Did you discuss it with your attorneys?

11          MR. NOH:    Yes, we did.

12          THE COURT:     And does this agreement contain all of your

13    complete agreement with the U.S. Government?

14          MR. NOH:    Yes.

15          THE COURT:     All right.    So let's see, this is a Section 1

16    case.    So I guess the elements of the count are not summarized

17    here anywhere, are they?        I think I know them.

18          MS. HEYE:     I'm happy to read them, Your Honor, if you

19    would like.

20          THE COURT:     Let's just see.     Do you have the information

21    with you?

22          MS. HEYE:     Um-hum.

23          THE COURT:     Could I see that?

24          MS. HEYE:     Yes.

25          THE COURT:     All right.    Under this agreement, your --
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1     Samsung SDI Company, Limited, would be pleading guilty to a

2     count of violating Section 1 of the Sherman Act.             And basically

3     that is it makes illegal conspiring to -- conspiring with some

4     other company to restrain trade in foreign or domestic

5     commerce.    And the particular things that are charged in this

6     case basically go to what?        Tell me -- tell us what they are in

7     summary form, you, the government, please --

8           MS. HEYE:     Well, the elements of the Sherman --

9           THE COURT:     -- Ms. Heye.

10          MS. HEYE:     Sure.    The elements of the Sherman Act Section

11    1 are first that the defendant entered into a conspiracy.               The

12    conspiracy was an unreasonable restraint of trade.             And the

13    conspiracy affected interstate commerce in the United States.

14          THE COURT:     All right.    And what, was it price fixing?

15          MS. HEYE:     It was price -- I am prepared to read a factual

16    basis, Your Honor, if that would be helpful.

17          THE COURT:     Well, how long is that?

18          MS. HEYE:     One page.

19          THE COURT:     Okay.    Why don't you go ahead and do that, and

20    then I'll -- is that the same one that's in the agreement?

21          MS. HEYE:     Yes, Your Honor.

22          THE COURT:     Okay.    I'm going to come to that.

23          MS. HEYE:     Okay.

24          THE COURT:     So you don't have to do that.

25          MS. HEYE:     Okay.    But it is price-fixing, reduction of
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1     output, and market share allegations.

2           THE COURT:     Okay.   So those are the things that the

3     government is accusing Samsung of agreeing with some other

4     company to restrain trade, and that affects the commerce in the

5     United States.      That's the basic claim, and that breaks down

6     into price-fixing and restricting output.           What was the third

7     thing?

8           MS. HEYE:     Market share allegations.

9           THE COURT:     Market share allegations, all of which are per

10    se violations under Section 1.

11          Do you understand that?

12          MR. NOH:    Yes.

13          THE COURT:     Okay.   Now -- so if you were to plead guilty

14    to that -- and we will come to that in a minute -- under the

15    statute, the individual people go to prison when they do this.

16    But in this case, we don't have individual people.             It's a

17    company, and you can't put a company in prison.             So they just

18    get to pay a fine.

19          And the statute authorizes a fine up to $100 million, plus

20    there is a special assessment of $100, right?

21          MS. HEYE:     It's actually $400, Your Honor.

22          THE COURT:     $400.   So $400 is mandatory.       And then there

23    is a fine of anywhere from zero to $100 million.

24          Do you understand that part?

25          MR. NOH:    Yes.
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1           THE COURT:     All right.    In addition, even though the

2     government has said they won't seek it, the Court could require

3     restitution.     I'll come to the affect of your agreement on that

4     in a minute.

5           But under the statute, restitution is a possibility.              Do

6     you understand that part?

7           MR. NOH:    Yes.

8           THE COURT:     All right.    And then is there supervised

9     release under the statute?

10          MS. HEYE:     A term of probation is also part of the

11    maximum -- potential maximum penalty.

12          THE COURT:     And that would be -- what does the statute

13    authorize?

14          MS. HEYE:     It is at least one year but no more than five

15    years.

16          THE COURT:     Okay.   So also the judge could impose -- must

17    impose, it sounds like, one year, right?

18          MS. HEYE:     Under a maximum penalty.

19          THE COURT:     And then up to five years of probation in

20    addition to the fine.

21          Do you understand?

22          MR. NOH:    Yes.

23          THE COURT:     Good.   All right.     So this is also a felony

24    that Samsung will be pleading guilty to.

25          Do you understand that part?
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1           MR. NOH:    Yes.

2           THE COURT:     So I guess it's fair to say -- and tell me if

3     I'm wrong -- but this plea could be entered in the -- with

4     collateral consequences in the civil litigation, right?

5     Couldn't they just put this in evidence as the evidence

6     directly against Samsung?

7           MR. HALLING:     There is a provision, Your Honor, of the

8     Clayton Act that addresses the affect of a conviction.              And so

9     the answer -- the short answer is yes, it's pursuant to the

10    terms of a particular statute.         It's part of the Clayton Act.

11          THE COURT:     Okay.   So do you understand that at least

12    there is a risk that, by pleading guilty, Samsung will be

13    prejudicing itself in the civil litigation by making it easier

14    to prove that Samsung engaged in a conspiracy.

15          Do you understand?

16          MR. NOH:    Yes.

17          THE COURT:     Okay.   All right.     And then let me go through

18    what the procedure we would follow would be.            After you plead

19    guilty, assuming you do, then I would refer Samsung to the

20    probation department, and a presentence report would be

21    prepared.    That's going to take us about 90 days.           Then we come

22    back here in about 90 days and have a sentencing hearing.

23          And at the sentencing hearing, the purpose is to decide on

24    the lowest, in this case, fine, that would carry out the

25    sentencing objectives of Congress such as the need for
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1     deterrence, the need to reflect the seriousness of the offense

2     and so forth.

3           You would have the right to be heard.          The lawyers would

4     have the right to be heard.        And then the judge would have to

5     make a decision on what is the right answer.            And the

6     presentence report is a very important document in that

7     process, so you would participate in its preparation.              You

8     would have the right to comment on its accuracy and to make

9     objections to it if you thought it was inaccurate.             We would

10    then have that hearing.

11          I don't know the answer.        It could be that I think

12    $32 million is too much.        It could be that I think $32 million

13    is too little.      It could be that I think $32 million is close

14    enough and let's just go with that.          I don't know.     That's why

15    we have the hearing.

16          But here is the good part for you:          If I or the judge

17    decides that it should be more than $32 million, then fine,

18    then Samsung has the option to either take the higher amount.

19    I don't know what it could be, but whatever it is, take the

20    higher fine and just pay it, or say, "No, that's not right, we

21    don't like that deal," and withdraw your guilty plea, which you

22    would have the right to do under this agreement, and take your

23    chances at trial.

24          That would be your right, to do either one of those two.

25    So you could either take the higher amount and pay that or ask
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1     to withdraw your guilty plea.         That would, of course, be

2     granted.    Then you would go to trial and you would take your

3     chances at trial.

4           Do you understand?

5           MR. NOH:    Yes.

6           THE COURT:     Okay.   Good.

7           All right.     Now, again, I want to emphasize, I don't have

8     any idea what the right answer here is.           And we just have to

9     wait and see, go through the process and find out.

10          But you do have an important measure of protection, given

11    that this is a plea agreement that your lawyers have gotten you

12    this additional advantage of being able to withdraw the plea of

13    guilty if it turns out that you don't like -- if the sentence

14    is higher than $32 million.

15          On the other hand, if I were to sentence Samsung to pay

16    the $32 million, you would be stuck with that, meaning Samsung

17    would be stuck with its guilty plea and could not get out of

18    that.

19          Do you understand that?

20          MR. NOH:    Yes.    Yes, I do.

21          THE COURT:     All right.    I want to change the subject for a

22    minute and explain the rights to go to trial.

23          Has Samsung fully discussed with counsel its right to go

24    to trial and its right to make the government prove the case

25    against it?
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1           MR. NOH:    Yes, they did.

2           THE COURT:     Let's go over what those rights are.          Under

3     our system, no matter how guilty Samsung is, you have the

4     perfect right to say to the government, "Okay, prove it," and

5     make the government prove the case against you.

6           And sometimes even though somebody is guilty, the

7     government just doesn't have the proof to prove it.

8           So that is a very important right, and you would be giving

9     that right up.

10          Under our system, the burden of proof is always on -- the

11    burden of proof is always on the government.            It's never, never

12    on the defendant, and the government has to call witnesses.

13          Samsung has a right to be here with its representatives,

14    to see and hear all of the testimony offered against it, and

15    work with the lawyers for the best possible cross-examination

16    of all of those witnesses.

17          The government, after it rests its case, Samsung would

18    have a right to put on a defense.          There is no corporation

19    fifth Amendment, is there?        I don't think so.

20          MS. HEYE:     I don't believe so.

21          THE COURT:     All right.    So Samsung would have a right to

22    put on a defense, call witnesses on its behalf, and we would

23    subpoena those witnesses as necessary to make them show up and

24    testify.

25          We would obligate them to tell the truth by putting them
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1     under oath.

2           Now, when all of the evidence was before the jury, the

3     jury would have to decide whether the government has carried

4     its burden of proof.       That means all 12 people on the jury

5     would have to agree that the government had proven beyond a

6     reasonable doubt each and every element of the offense.                 That's

7     Section 1 of the Sherman Act.

8           And if the jury said yes, the government had done that,

9     then the jury would be obligated to return a guilty verdict.

10    On the other hand, if even one member of the 12-person jury

11    thought that the government had fallen short on even one

12    element of its proof, that jury would not be allowed to convict

13    Samsung.

14          Do you understand that?

15          MR. NOH:    Yes.    Yes, I understand.

16          THE COURT:     Very well.    Then after -- if Samsung was

17    convicted, in addition, Samsung would have the right to appeal

18    both the verdict, as well as the amount of any fine or terms of

19    probation that were placed upon it.

20          Do you understand?      Or restitution for that matter.

21          Do you understand?

22          MR. NOH:    Yes, I'm aware of that.

23          THE COURT:     All right.    Now, here's the deal:       If you

24    plead guilty today, if Samsung pleads guilty today, then

25    Samsung will be giving up all of those rights.
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1           Do you understand that?

2           MR. NOH:    Yes, I understand.

3           THE COURT:     All right.    And does Samsung want to do that

4     freely and voluntarily?

5           MR. NOH:    Yes.

6           THE COURT:     Is anyone putting pressure on Samsung to plead

7     guilty?

8           MR. NOH:    No.

9           THE COURT:     All right.    So let's see what it is that

10    Samsung did wrong.       I'm going to read from your agreement here,

11    and then I'll paraphrase.        I won't get it exactly right.          But

12    I'm taking it out of this agreement, so you tell me if it's

13    right.

14          From as early as January of '97 until as late as March of

15    '06, Samsung SDI Company, Limited, was a corporation organized

16    and existing under the laws of Korea with its principal place

17    of business in Kiheung, Republic of Korea.           True?

18          MR. NOH:    That is correct, Your Honor.

19          THE COURT:     During that relative -- during that period,

20    Samsung SDI Company, Limited, was a producer of CDTs.

21    Cathode -- what does that stand for?

22          MS. HEYE:     Color display tubes, Your Honor.

23          THE COURT:     Color display tubes.      All right.     It was a

24    producer of color display tubes; was engaged in the sale of

25    color display tubes in the USA and elsewhere; and employed over
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1     5,000 individuals.        All true?

2           MR. NOH:     Yes, Your Honor.

3           THE COURT:     CDTs, meaning color display tubes, are a type

4     of cathode ray tube.       True?

5           MR. NOH:     Yes.   Yes, true.

6           THE COURT:     Cathode ray tubes consist of evacuated glass

7     envelopes that contain an electron gun and a phosphorescent

8     screen.    True?

9           MR. NOH:     Yes.

10          THE COURT:     When electrons strike the screen, light is

11    emitted, creating an image on the screen.           True?

12          MR. NOH:     Yes.

13          THE COURT:     CDTs are the specialized cathode ray tubes

14    manufactured for use in computer monitors and other products

15    with similar technological requirements.

16          CDTs are distinguished from another type of specialized

17    cathode ray tubes, while color picture tubes, CPTs, which are

18    manufactured for use in televisions.          True?

19          MR. NOH:     Yes.

20          THE COURT:     During this period, which, again, is '97 to

21    '06, Samsung SDI Company, Limited, through its officers and

22    employees, including high-level personnel, participated in a

23    conspiracy among major CDT producers, the primary purpose of

24    which was to fix prices, reduce output and allocate market

25    shares of CDTs sold in the USA and elsewhere.            True?
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1           MR. NOH:    Yes.

2           THE COURT:     In furtherance of the conspiracy, the

3     defendant, through its officers and employees, engaged in

4     discussions and attended meetings with representatives of other

5     major CDT producers.

6           During these discussions and meetings, agreements were

7     reached to fix prices, reduce output, and allocate market

8     shares of CDTs to be sold in the USA and elsewhere.             True?

9           MR. NOH:    Yeah.

10          THE COURT:     During the relevant period, meaning '97 to

11    '06, CDTs sold by one or more of the conspirator firms and

12    equipment and supplies necessary to the production and

13    distribution of CDTs, as well as payment for CDTs, traveled in

14    interstate and foreign commerce.         True?

15          MR. NOH:    Yes.

16          THE COURT:     The business activities of the defendant,

17    meaning Samsung SDI Company, Limited, and its co-conspirators,

18    in connection with the production and sale of CDTs that were

19    subjects of this conspiracy, were within the flow-up and

20    substantially affected interstate and foreign trade-in

21    commerce.    True?

22          MR. NOH:    Yes.

23          THE COURT:     During the relevant period, the defendant CDT

24    sales directly affected by the conspiracy to customers in the

25    USA totaled approximately $89 million.           True?
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1           MR. NOH:    Yes, true.

2           THE COURT:     Finally, acts in furtherance of this

3     conspiracy were carried out within the Northern District of

4     California.     CDTs that were the subject of this conspiracy were

5     transported by one or more of the co-conspirators through this

6     district.    True?

7           MR. NOH:    Yes.

8           THE COURT:     All right.    I just want to go back to one

9     other thing.     It looks like in your agreement that the maximum

10    fine is the greatest of $100 million or twice the gross

11    pecuniary gain the conspirators derived from the crime or twice

12    the gross pecuniary loss caused to the victims of the crime by

13    the conspirators.

14          Have I said that right?

15          MS. HEYE:     Yes, Your Honor.

16          THE COURT:     Do you understand that part?

17          MR. NOH:    Yes.

18          THE COURT:     Okay.   So I ask Ms. Heye -- I'm sorry if I --

19    am I saying it right?

20          MS. HEYE:     You're getting it, um-hum.

21          THE COURT:     -- Ms. Heye if I need to ask anything more or

22    anything more that should be put on the record?

23          MS. HEYE:     That's sufficient, Your Honor.

24          I would like to go through what the defendant's

25    cooperation obligations were in response to your earlier
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1     question about the material terms.

2           THE COURT:     Oh, yes, the cooperation.

3           Yes, please do that, Ms. Heye.

4           MS. HEYE:     Sure.   The defendant agrees to provide full

5     cooperation with the government's ongoing criminal

6     investigation into anticompetitive activity in the CDT and CPT

7     industry, including providing documents we request from both

8     overseas and the United States.

9           This cooperation also includes using Samsung SDI's best

10    efforts to secure the ongoing, full and truthful corporation of

11    all current and former officers, employees and directors of the

12    company, except the individuals who have been carved out of

13    both the obligations and protections of the plea agreement.

14          THE COURT:     All right.    So do you understand that part?

15          MR. NOH:    Yes.    Yes, I do.

16          THE COURT:     All right.    And if there is a violation of

17    that, what does the government get to do?

18          MS. HEYE:     Your Honor, then the government may seek to

19    void the plea agreement.

20          THE COURT:     Void the plea or void the -- in other words,

21    what happens to the guilty plea if you seek to do that?

22          MS. HEYE:     If they violate the plea agreement, then they

23    shall be subject to prosecution for any federal crime,

24    including the substantive offenses relating to the

25    investigation resulting in this plea agreement.
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1           THE COURT:     Is that right?

2           MR. HALLING:     Your Honor, if the terms are violated, the

3     agreement can be voided and the government can prosecute,

4     correct?

5           THE COURT:     But does the guilty plea go away at that

6     point?

7           MR. HALLING:     I believe so.

8           THE COURT:     Where does it say that?

9           MS. HEYE:     Well, because of the -- because the plea

10    agreement -- because we're voiding our obligation under this

11    plea agreement, I think that then the company would not be held

12    to the plea agreement anymore.

13          MR. HALLING:     It would be as though the plea agreement

14    never occurred.

15          THE COURT:     All right.    Paragraph 20 covers this?

16          MS. HEYE:     Um-hum.

17          THE COURT:     Let me just look at it.

18          Okay.    Anything more that needs to be said on that

19    subject?

20          MS. HEYE:     No, Your Honor.

21          THE COURT:     All right.    Is there anything the defense

22    counsel wish for me to go over?

23          MR. HALLING:     No, Your Honor.

24          THE COURT:     So, Mr. Sang Soo Noh, any questions you have?

25          MR. NOH:    No, I do not, Your Honor.
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1           THE COURT:     Okay.   All right.     And do you wish to go

2     forward now, or do you want more time to think about it?

3           MR. NOH:    I would like to go ahead now, Your Honor.

4           THE COURT:     All right.    So I will now ask you the official

5     question, and that is:       How does Samsung SDI Company, Limited,

6     a defendant in this case, plead to the information filed

7     against it in this case charging it with criminal violation of

8     Section 1 of the Sherman Act, conspiracy and restraint of

9     trade?

10          Does Samsung SDI Company, Limited, plead guilty or not

11    guilty?

12          MR. NOH:    Guilty.

13          THE COURT:     All right.    So, Mr. Sang Soo Noh, I'm going to

14    do what you have asked me to do.         I will find that you and

15    Samsung are fully competent and capable of entering an informed

16    plea; that you are aware, and Samsung is aware of the nature of

17    the charges and the possible consequences of pleading guilty;

18    that Samsung's plea of guilty is supported by a factual basis;

19    that it is voluntary and informed.

20          So the Court will accept your plea of guilty on behalf of

21    Samsung SDI Company, Limited, and adjudge Samsung SDI Company,

22    Limited, convicted of violating Section 1 as charged in the

23    Sherman Act.     So that important step is behind Samsung SDI

24    Company, Limited.

25          Now the Court will refer you to the probation department
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1     for preparation of the presentence report, and then we will

2     come back here later on to determine what the sentence ought to

3     be or whether to accept your proposed agreement.

4           Now, ordinarily we'd come back in 90 days, but you may

5     want time for your cooperation to run.

6           I'll do whatever you want to do that on that.

7           MS. HEYE:     I think we'd like to come back in 90 days, Your

8     Honor.

9           MR. HALLING:     We would like to come back in 90 days, Your

10    Honor.

11          THE COURT:     In 90 days.     Fine.   Set it for 90 days out.

12          THE CLERK:     August 16th at 2:00.

13          THE COURT:     All right.

14          MS. HEYE:     Would you like the original plea?

15          THE COURT:     Yes.    Please give Tony the original plea, and

16    you keep that, Tony.        I don't need to see that.       Just make

17    sure -- let me just see if it's been properly signed.

18          Has it been signed by everyone?

19          MS. HEYE:     Yes, Your Honor, it has.

20          THE COURT:     All right.    Here you are.

21          All right.     Anything more I can do for you today?

22          MS. HEYE:     Just in an abundance of caution, can we confirm

23    and put on the record that time between now and the sentencing

24    hearing shall be excluded from the Speedy Trial Act on the

25    basis that -- for a delay resulting from consideration by the
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1     Court of our proposed plea agreement.

2           THE COURT:     Okay.    Well, I'll do that if everyone wants me

3     to, but I think since the guilty plea has been accepted, the --

4     whether or not -- you see, the plea has been accepted.

5           MS. HEYE:     Um-hum.

6           THE COURT:     If I were to exceed the $32 million here, for

7     some reason, then you would have a right to make a motion to

8     withdraw the guilty plea.

9           I don't think what you're asking for is necessary, but out

10    of caution, we will do that.

11          Is there any objection?

12          MR. HALLING:     No, Your Honor.

13          THE COURT:     All right.    For the reasons stated by counsel,

14    the time between today and August 16th will be excluded from

15    the speedy trial calculation.

16          The Court finds the need for the continuance outweighs the

17    need for the public and the defendant in a speedy trial.

18          Please do a written stipulation.

19          Would you do that?

20          MS. HEYE:     Yes, Your Honor.

21          THE COURT:     Okay.    Anything more today?

22          MS. HEYE:     No, Your Honor, that's it.

23          MR. HALLING:     No, Your Honor.

24          THE COURT:     Great.    Thank you all.

25          MR. HALLING:     Thank you, Your Honor.
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1           THE COURT:     Have a good day.

2           THE CLERK:     Court is in recess.

3                         (Proceedings concluded at 4:00 p.m.)

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1                            CERTIFICATE OF REPORTER

2                I, the undersigned, hereby certify that the foregoing

3     proceedings were reported by me, a certified shorthand

4     reporter, and were thereafter transcribed under my direction

5     into typewriting; that the foregoing is a full, complete and

6     true record of said proceedings.

7           I further certify that I am not of counsel or attorney for

8     either or any of the parties in the foregoing proceedings and

9     caption named, or in any way interested in the outcome of the

10    cause named in said caption.

11          The fee charged and the page format for the transcript

12    conform to the regulations of the judicial conference.

13          Furthermore, I certify the invoice does not contain

14    charges for the court reporter's certification page.

15          IN WITNESS WHEREOF, I have hereunto set my hand this 24th

16    day of May 2011.

17

18                                      /s/ Margaret Gurule

19                                      ___________________________________

20                                      MARGARET "MARGO" GURULE, CSR

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